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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                 CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP and
  WALTINE NAUTA,

        Defendants.
  ____________________________________/

                  ORDER GRANTING IN PART GOVERNMENT’S MOTION
                   TO CONTINUE TRIAL AND RESETTING DEADLINES

         THIS MATTER comes before the Court upon the Government’s Motion to Continue Trial

  and Request for Revised Scheduling Order [ECF No. 34]. The Court has reviewed the Motion,

  Defendants’ Response in Opposition [ECF No. 66], the Government’s Reply to Defendants’

  Response [ECF No. 76], and the full record. The Court also held a Pretrial Conference Pursuant

  to Section 2 of the Classified Information Procedures Act (CIPA), Pub. L. 96–456, 94 Stat. 2025,

  18 U.S.C. App. III §§ 1–16 (1980), on July 18, 2023 [ECF No. 82].

         Following review, it is ORDERED AND ADJUDGED as follows. The Government’s

  Motion to Continue Trial and Revised Proposed Schedule [ECF No. 34] is GRANTED IN PART

  for the reasons stated below. The Court finds that the interests of justice served by this continuance

  outweigh the best interest of the public and Defendants in a speedy trial.                18 U.S.C.

  § 3161(h)(7)(A). The Court has considered the factors in 18 U.S.C. § 3161(h)(7)(B) in reaching

  this determination. Having done so, the Court finds that the period of delay resulting from this
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  continuance—i.e., from the date the Motion was filed, June 23, 2023, to the date trial

  commences—is excludable time under the Speedy Trial Act. See 18 U.S.C. § 3161.

                                            DISCUSSION

         This case is currently set for trial commencing on August 14, 2023, with a deadline to file

  pretrial motions on or before July 24, 2023 [ECF Nos. 28, 55]. All parties agree that a continuance

  of the current trial date is warranted. The Court concurs; proceeding to trial on August 14, 2023,

  “would deny counsel for the defendant[s] or the attorney[s] for the Government the reasonable

  time necessary for effective preparation” [ECF No. 34 (quoting 18 U.S.C. § 3161(h)(7)(B)(iv))].

         The parties disagree as to the length of the continuance and to the appropriateness of setting

  a schedule at this time. As a preliminary matter, the Court rejects Defendants’ request to withhold

  setting of a schedule now; the Court deems it necessary to manage this proceeding through

  important stages of discovery, CIPA briefing, motion practice, and trial, and does not see a

  sufficient basis on this record to postpone entry of a scheduling order.           Nevertheless, the

  Government’s proposed schedule is atypically accelerated and inconsistent with ensuring a fair

  trial. As it stands, the Government’s timeline spans less than six months from the first discovery

  production (June 21, 2023) to trial in a CIPA case involving, at the very least, more than 1.1 million

  pages of non-classified discovery produced thus far (some unknown quantity of which is described

  by the Government as “non-content”), at least nine months of camera footage (with disputes about

  pertinent footage), at least 1,545 pages of classified discovery ready to be produced (with more to

  follow), plus additional content from electronic devices and other sources yet to be turned over.

  By conservative estimates, the amount of discovery in this case is voluminous and likely to

  increase in the normal course as trial approaches. And, while the Government has taken steps to

  organize and filter the extensive discovery, no one disagrees that Defendants need adequate time



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  to review and evaluate it on their own accord. To add further complication, a material portion of

  the discovery in this case is subject to the procedures in CIPA—procedures that all agree often

  lengthen the ordinary trajectory from indictment to trial [see ECF No. 34-1 p. 3]. That is no less

  the case here, where the matter involves a substantial quantity of classified discovery that has yet

  to be produced pending Court resolution of a forthcoming (and so far contested) protective order

  under Section 3 of CIPA, security-clearance briefings, processing of final security clearances for

  certain portions of the classified discovery, and additional logistics for the review of such

  materials, including expedited preparations for an accredited facility in the Northern Division of

  this District. Then there is the matter of extensive pre-trial motion practice as described by

  Defendants in the Response and at the Section 2 Hearing, the bare minimum of which will require

  considerable time for Court review, independent of the ultimate merits of any such motions.

         Defendants, for their part, characterize the Government’s approach to this case as unusually

  expedited and cursory, request additional time to conduct an initial review of the voluminous

  discovery (including yet-to-be produced discovery), and describe the case as falling squarely

  within the “unusual or complex” designation in 18 U.S.C. § 3161(h)(7)(B)(ii) [ECF No. 66]. 1

  Defendants maintain that this proceeding raises various “novel, complex, and unique legal issues,”

  citing the interplay between the Presidential Records Act and the various criminal statutes at issue;

  constitutional and statutory challenges to the authority of the Special Counsel to maintain this

  action; disputes about the classification status of subject documents; challenges to the grand jury

  process that led to the indictment (including questions of attorney-client privilege); requests for


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    18 U.S.C.A. § 3161(h)(7)(B)(ii) (directing a court to consider, in determining whether to grant a
  continuance, “[w]hether the case is so unusual or so complex, due to the number of defendants,
  the nature of the prosecution, or the existence of novel questions of fact or law, that it is
  unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself within
  the time limits established by this section”).

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  defense discovery; and other pre-trial motions, including possible motions to suppress and a

  motion to sever [ECF No. 66; see ECF No. 82]. As a final category, Defendants identify various

  additional factors the Court deems unnecessary to resolution of the Government’s motion at this

  juncture, most principally the likelihood of insurmountable prejudice in jury selection stemming

  from publicity about the 2024 Presidential Election [ECF No. 66 p. 9].

         Upon review of the parties’ competing arguments, it is clear to the Court that a continuance

  is warranted and in accordance with the requirements of the Speedy Trial Act. First, as the record

  reveals, discovery in this case is exceedingly voluminous and will require substantial time to

  review and digest in accordance with Defendants’ right to a fair trial. Second, this is a CIPA case,

  which although on its own may not be a fact warranting designation of this case as complex under

  the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(B)(ii), strongly counsels in that direction here

  given the substantial quantities of classified discovery, anticipated CIPA briefing [see

  ECF No. 34-2], and the need for Defendants and the Court to adequately review the classified

  discovery under appropriate safeguards and following resolution of pending logistics. Third, even

  accepting the Government’s contested submission that nothing in this case presents a “novel

  question[] of fact or law” [ECF No. 34 p. 2], the fact remains that the Court will be faced with

  extensive pre-trial motion practice on a diverse number of legal and factual issues, all in connection

  with a 38-count indictment. These factors are sufficient to designate this case complex under 18

  U.S.C. § 3161(h)(7)(B)(ii), and the Court is unaware of any searchable case in which a court has

  refused a complex designation under comparable circumstances.

         For all of these reasons, taking due account of the public’s interest in a speedy trial and the

  rights of the parties, the Court hereby sets the following pre-trial and trial schedule.




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                                            SCHEDULE

         Calendar call in this matter will be held on Tuesday, May 14, 2024, at 1:45 p.m. in the

  Fort Pierce Division. The case is set for Jury Trial in the Fort Pierce Division during the two-week

  trial period commencing on May 20, 2024. The parties shall adhere to the following pre-trial and

  trial deadlines and are reminded to comply with the Local Rules in all respects and the instructions

  in the Court’s Orders Setting Trial [ECF Nos. 28, 55] except as superseded by this Order: 2


                 Defense Review of Unclassified Discovery                         Ongoing


              Renewed Section 3 Motion for Protective Order                    July 27, 2023


           Any Opposition to Renewed Section 3 Motion                         August 9, 2023


         Government’s Reply to Renewed Section 3 Motion                       August 14, 2023


             Hearing on Section 3 Motion (if necessary)                       August 25, 2023


             Initial Production of Classified Discovery 3                   September 7, 2023


                    Joint Discovery Status Report                           September 14, 2023


               Government’s CIPA Section 10 Notice                          September 14, 2023


         Government’s CIPA Section 4 Motion (Ex Parte)                       October 10, 2023


       Any Defense Challenge to Section 4 (Ex Parte) Filing                  October 10, 2023




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   All hearings will begin at 9:30 a.m. except as modified by separate Order. As circumstances
  demand, hearings may be held in camera for classified information purposes.
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   This review will take place at a temporary location until sufficient security measures have been
  implemented on an expedited basis for placement at a final location.
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           Hearing on Section 4 Motion (if necessary)               October 17, 2023

    Deadline for the Filing of Any Defense Motion to Compel
                                                                    October 20, 2023
         Discovery or Any Discovery-Related Request

         Deadline for the Filing of Any Pretrial Motions            November 3, 2023


           Government’s Rule 16 Expert Disclosures                  November 8, 2023


              Defense Rule 16 Expert Disclosures                   November 15, 2023


              Any Defense CIPA Section 5 Notice                    November 17, 2023


             Government Discovery Status Report                    November 21, 2023


                       Status Conference                           November 28, 2023

                 Hearing on Pretrial Motions
                                                                   December 11, 2023
             (Evidentiary and/or Non-Evidentiary)

            Government’s CIPA Section 6(a) Motion                  December 15, 2023


         Defense Response to CIPA Section 6(a) Motion                January 4, 2024


     Government’s Supplemental Rule 16 Expert Disclosures            January 4, 2024


       Government’s Reply to CIPA Section 6(a) Motion                January 8, 2024


                   CIPA Section 6(a) Hearing                        January 16, 2024

      Defense Reciprocal Discovery Under Fed. R. Crim P.
                                                                    February 5, 2024
                          16(b)(1)(A)

                 Joint Discovery Status Report                      February 12, 2024

          Hearing on Any Remaining Pretrial Motions
                                                                    February 26, 2024
            (Evidentiary and/or Non-Evidentiary)



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           Deadline for the Filing of Any Motions in Limine                    March 20, 2024

      Deadline for the Filing of Any Motion to Introduce Evidence
                                                                               March 20, 2024
                       Under Fed. R. Evid. 404(b)

        Government’s CIPA Section 6(c) Motion (if necessary)                   April 11, 2024


                    Hearing on Motions in Limine                               April 17, 2024


            Defense Response to CIPA Section 6(c) Motion                       April 25, 2024


           Government’s Reply to CIPA Section 6(c) Motion                       May 2, 2024


          Hearing on Remaining CIPA Issues/Calendar Call                        May 14, 2024


                               Jury Trial 4                                     May 20, 2024



           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 21st day of July 2023.




                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE


  cc:      counsel of record




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   Jury selection procedures will be the subject of additional briefing/argument, to be set by separate
  Order.
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